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                 IN THE     UNITED       STATES    DISTRICT        COURT   FOR     TH
                                                                                             JLL
                             EASTERN          DISTRICT    OF    VIRGINIA
                                       Alexandria       Division
                                                                                                      9 2010

INTERSECTIONS,        INC.,       et    al,                                                   . U.S. DISTRICT
                                                                                         ALEXANDRIA.

      Plaintiffs,


      v.                                                           :09cv597(LMB/TCB)


JOSEPH     C.   LOOMIS,     et    al.


      Defendants.




                                                 ORDER


     For the       reasons        stated in open court,              plaintiffs'        Motion to

Stay Action as to Jenni Loomis                    [111]    is GRANTED,        and it     is hereby

     ORDERED that           this action be and             is    stayed in all respects

for ninety days,           and    it    is    further


     ORDERED that           the    trial       scheduled       for March    1,   2010   be    and is

cancelled,      and   it    is    further


     ORDERED that by close                   of business       May   20,   2010,    the parties

file a report advising the Court of the status of this action.

     The Clerk is directed to forward copies of                             this Order to

counsel of record and pro se defendant Joseph Loomis.

     Entered this           l^    day of February,             2010.



Alexandria,      Virginia



                                                               Leonie M. Brinkema
                                                               United States District Judge
